            Case 2:20-mj-08102-JAD  Document
                                UNITED STATES4 DISTRICT
                                                Filed 03/03/20
                                                         COURTPage 1 of 1 PageID: 9
                                          DISTRICT OF NEW JERSEY

                                      MAGISTRATE’S COURTROOM MINUTES

UNITED STATES OF AMERICA                         :    MAGISTRATE JUDGE:         JOSEPH A. DICKSON
                                                 :
              v.                                 :    MAGISTRATE NO.:           20-8102
                                                 :
YEZENIA CASTILLO
                                                 :    DATE OF PROCEEDINGS: 3/3/20
                                                 :
                                                 :    DATE OF ARREST:           3/3/20

PROCEEDINGS: Initial Appearance

( ) COMPLAINT                                         ( ) TEMPORARYCOMMITMENT
(X) ADVISED OF RIGHTS                                 ( ) CONSENT TO DETENTION WITH RIGHT TO MAKE A
( ) WAIVER OF COUNSEL                                     BAIL APPLICATION AT A LATER TIME
( ) APPT. OF COUNSEL: __ AFPD __ CJA                  ( ) BAIL DENIED - DEFENDANT REMANDED TO CUSTODY
(X) WAIVER OF HRG.: X PRELIM __ REMOVAL               (X) BAIL SET: $100,000
( ) CONSENT TO MAGISTRATE'S JURISDICTION              (X) UNSECURED BOND
( ) PLEA ENTERED:        GUILTY __ NOT GUILTY                ( ) SURETY BOND SECURED BYCASH / PROPERTY
( ) PLEA AGREEMENT                                    (X) TRAVEL RESTRICTED NJ & NYC, unless approved by PTS
( ) RULE 11 FORM                                      (X) REPORT TO PRETRIAL SERVICES
( ) FINANCIAL AFFIDAVIT EXECUTED                      (X) DRUG TESTING AND/OR TREATMENT
( ) OTHER                                             (X) MENTAL HEALTH TESTING AND/OR TREATMENT
                                                      (X) SURRENDER &/OR OBTAIN NO PASSPORT
                                                      (X) SEE ORDER SETTING CONDITIONS OF RELEASE FOR
                                                          ADDITIONAL CONDITIONS

HEARING(S) SET FOR:

(   ) PRELIMINARY/ REMOVAL HRG.                       DATE:
(   ) DETENTION / BAIL HRG.                           DATE:
(   ) TRIAL:    COURT       JURY                      DATE:
(   ) SENTENCING                                      DATE:
(   ) OTHER:                                          DATE:



APPEARANCES:

AUSA VIJAY DEWAN

DEFT. COUNSEL SUZANNE AXEL, Esq. (Retained)

PROBATION

INTERPRETER
               Language: (        )


Time Commenced: 3:18 p.m.
Time Terminated: 3:24 p.m.
CD No:           ECR
                                                                             Jessica Batista
                                                                             DEPUTY CLERK
